     Case: 1:18-cr-00022-RLW Doc. #: 53 Filed: 09/17/20 Page: 1 of 2 PageID #: 235




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff-Respondent,         )
                                             )
       v.                                    )       NO. 1:18CR00022 RLW
                                             )
DARYN EASTON,                                )
                                             )
               Defendant-Petitioner.         )

       MOTION FOR LEAVE TO FILE DOCUMENT IN EXCESS OF FIFTEEN PAGES
                                UNDER SEAL

       Comes now Assistant Federal Public Defender Michael Skrien to request leave to file

defendant’s Motion for Compassionate Release in excess of the ordinary 15-page limit for pleading in

Local Rule 4.01(D) under seal pursuant to this Court’s Local Rule 83-13.05 Pleadings and Documents

Filed Under Seal because said document contains information of a personal and confidential nature. He

makes this request in order to properly set out the basis for defendant’s request for “compassionate

release” based on “extraordinary and compelling” circumstances under 18 U.S.C §3582(c)(1)(A)(i), as

amended by the First Step Act of 2018.

                                                     Respectfully submitted,


                                                     /s/Michael A. Skrien
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                                                     Assistant Federal Public Defender
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                                                     ATTORNEY FOR DEFENDANT
    Case: 1:18-cr-00022-RLW Doc. #: 53 Filed: 09/17/20 Page: 2 of 2 PageID #: 236




                             CERTIFICATE OF SERVICE

I hereby certify that on September 17, 2020, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court's electronic filing system upon -
Paul W. Hahn, Assistant United States Attorney.

                                              /s/Michael A. Skrien
                                              Michael A. Skrien
